

Warner v State of New York (2019 NY Slip Op 00821)





Warner v State of New York


2019 NY Slip Op 00821


Decided on February 1, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 1, 2019

PRESENT: CENTRA, J.P., LINDLEY, DEJOSEPH, NEMOYER, AND WINSLOW, JJ. (Filed Feb. 1, 2019.) 


MOTION NO. (1106/18) CA 17-02004.

[*1]RICHARD H. WARNER, INDIVIDUALLY, AND AS GUARDIAN OF MARY DOROTHY WARNER, AN INCAPACITATED PERSON, CLAIMANT-APPELLANT, 
vSTATE OF NEW YORK, DEFENDANT-RESPONDENT. (CLAIM NO. 098768.) RICHARD H. WARNER, AS EXECUTOR OF THE ESTATE OF MARY DOROTHY WARNER, DECEASED, CLAIMANT-APPELLANT, STATE OF NEW YORK, DEFENDANT-RESPONDENT. (CLAIM NO. 105712.) (APPEAL NO. 3.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








